^                  Fill in this information to identify vour case:

      Debtor 1                  LATasha N Ma                                                                                                                2018DEC4ftHll : 10
                                First Name                        MiddleName                         Last Name

      Debtor 2
      (Spouse if, filing)       First Nama                        Middle Name                        Last Name


      United States BankruptcyCourtfor the:                 DISTRICTOFARIZONA,PHOENIXDIVISION

      Case number
      (if known)                                                                                                                                       D Check if this is an
                                                                                                                                                                 amended filing



     Official Form 106Sum
     Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                        12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
     your original forms, you must fill out a new Summaryand check the boxat the top of this page.

      Part 1:        Summarize Your Assets

                                                                                                                                                            .
                                                                                                                                                                Your assets
                                                                                                                                                                Valueofwhatyou own

      1.     ScheduleA/B: Property (Official Form 106A/B)
             1a. Copy line 55, Total real estate, from ScheduleA/B.                                                                                             $             254, 375. 00

             Ib. Copy line 62, Total personal property, from ScheduleA/B.                                                                                       $                  6, 350. 00
             1c. Copy line 63, Total of all property on Schedule A/B.                                                                                           $             260, 725. 00
      Pait 2:       Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

     2.      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy thetotal you listed in Column Mmount ofclaim, atthe bottom ofthelast pageofPart 1 of Schedule D...                                         $             109,956. 98
     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy thetotal claims from Part 1 (priority unsecured claims) from line 6e(Schedule E/F.................................                         S                      0.00
            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j Schedule E/F............................                          $              88,959. 50


                                                                                                                                 Your total liabilities $                 198. 916. 48


     Part 3:        Summarize Your Income and Ex enses


     4.     Schedule I: Your /ncome(0fficial Form 1061)
            Copy your combined monthly income from line 12oSchedute/-.............................................................................              $               1,817.89
     5.     ScheduleJ: Your Expenses(Official Form 106J)
            Copyyour monthly expenses from line22cofScheduteJ..........................................................................                         $               2,676. 00
     Part 4        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            0 No. You havenothing to report on this part of the form. Checkthis boxand submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or household
                   purpose. " 11 U. S. C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U. S. C§ 159.

            D      Your debts are not primarily consumer debts. You have nothing to report on this part ofthe form. Checkthis box and submitthis form to the
                   court with your other schedules.

     OfficialForm 106Sum                     SummaryofYourAssets and LiabilitiesandCertainStatistical Information                                                     page1 of 2
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                   Case 2:18-bk-14699-PS                             Doc 9 Filed 12/04/18 Entered 12/06/18 11:34:29                                                       Desc
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  Debtor 1      Ma , LATasha N                                                                 Case number (if known)

  8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
        122A-1 Line 11;OR, Form 122B Line 11;OR, Form 122C-1 Line 14.                                                                    2,343. 46


  9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       >Frqm Part4 on\ Schedule E/F, copy the following:

        9a. Domestic support obligations (Copy line 6a.)                                                   $                    0.00

        9b. Taxes and certain other debts you owethe government. (Copy line 6b.)                           $                    0.00

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                    0.00

        9d. Student loans. (Copy line 6f.)                                                                                      0. 00

        9e. Obligationsarising out of a separation agreementor divorcethat you did not report as
            priority claims. (Copy line 6g.)                                                                                    0.00

        9f. Debtsto pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                    0.00


        9g. Total. Add lines 9athrough 9f.                                                                                0.00




Official Form 106Sum                                Summary of Your Assets and Liabilitiesand Certain Statistical Information             page 2 of 2
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                                       www.   cjncompass.
                                                        com




             Case 2:18-bk-14699-PS                            Doc 9 Filed 12/04/18 Entered 12/06/18 11:34:29                            Desc
                                                              Main Document     Page 2 of 34
               Fill in this information to identify your case and this filing:
  Debtor 1                     LATasha N Ma
                               First Name                            Middle Name                      Last Name

  Debtor 2
  (Spouse, ifflling)           First Name                            Middle Name                      Last Name


  United States Bankruptcy Courtforthe:                        DISTRICTOFARIZONA,PHOENIXDIVISION

  Case number                                                                                                                                            D    Check if this is an
                                                                                                                                                              amended filing



 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

  Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    D No.GotoPart2.
        Yes. Where is the property?




 1.1                                                                        Whatis the property? Checkall thatapply
                                                                                     Single-familyhome                         Do not deduct secured claims or exemptions. Put
        11044W Lane Ave                                                                                                        the amount of any secured claims on Schedule D:
                                                                               D     Duplex or multi-unit building
        Street address   , if available, or otherdescription                                                                   Creditors Who Have Claims Secured by Property.
                                                                               D     Condominium or cooperative

                                                                               D     Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Glendale                            AZ        85307-1626               D     Land                                      entire property?           portion you own?
        City                                State          ZIPCode             D     Investment property                             $254, 375. 00                $254, 375. 00
                                                                               D Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               D Other                                         (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Checkone      a life estate), if known.
                                                                                     Debtor 1 only                             Fee Simple
                                                                               D Debtor2 only
        County                                                                 D Debtor1 andDebtor2 only                           Check if this is community property
                                                                               D At leastoneofthedebtorsandanother                 (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number




 2. Add the dollarvalue of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here........................................................................... =>                        $254,375.00
 Part 2:    Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
   D Yes




Official Form 106A/B                                                               Schedule A/B: Property                                                                   page 1
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  Debtor1          Ma LATasha N                                                                                Case number (if known)

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
    D Yes



  5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attachedfor Part 2. Write that number here............................................................................. =>
     .
                                                                                                                                                        $0.00

  Part 3:      Describe Your Personal and Household Items

    o you own or have any legal or equitable interest in any of the following items?                                                      Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
     D No
          Yes. Describe.....
                                      Beds, Table, Livin       Room Set, Linen, Lam s. Shelves Etc.                                                   $5, 000. 00

7 Electronics
     Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     D No
          Yes. Describe.....
                                     T.V.S                                                                                                              $200.00

                                     Cell Phone                                                                                                         $250.00


8. Collectibles of value
   Examples: Antiques andfigurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseballcard collections; other
                    collections, memorabilia, collectibles

          No
     D Yes. Describe.....

9. Equipmentfor sports and hobbies
    Examples: Sports, photographic, exercise, and other hobbyequipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentrytools; musical
                    instruments

          No
    D Yes. Describe.....
10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          No
    D Yes. Describe.....

11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    D No
          Yes. Describe.....
                                     Womans Clothin                                                                                                     $300.00


12. Jewelry
     Examples: Everydayjewelry, costumejewelry, engagement rings, weddingrings, heirloom jewelry, watches, gems, gold, silver
    D No
          Yes. Describe.....
                                     Weddin Rin                                                                                                         $300.00



Official Form 106A/B                                               ScheduleA/B: Property                                                                   page 2
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  Debtor 1         Ma , LATasha N                                                                                      Case number (it known)
 13. Non-farm animals
        Examples: Dogs, cats, birds, horses
       No
     D Yes. Describe.....

 14. Any other personal and household items you did not already list, including any health aids you did not list
       No
     D Yes. Give specific information.....


  15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
        Part 3. Write that number here..............................................................................                                     $6,050.00


  Part 4:     Describe Your Financial Assets

      you own or have any legal or equitable interest in any of the following?                                                                  Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
 16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
     D Yes.

 17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
     D No
       Yes                                                                             Institution name:


                                          17.1. CheckingAccount CheckingAcct                                                                                   $300.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokeragefirms, money market accounts
      No
   D Yes..................         Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest In an LLC, partnership, and
      joint venture
         No
     a Yes. Give specific information about them.
                                             Name of entity:                                                           % of ownership:

20. Government and corporate bonds and other negotiableand non-negotiableinstruments
    Negotiable instruments includepersonal checks, cashiers'checks, promissorynotes, and moneyorders.
    Non-negotlable instruments are those you cannot transfer to someone by signing or delivering them.
     No
    D Yes.Givespecificinformationaboutthem
                                            Issuer name:


21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
    D Yes. List each account separately.
                                         Type of account:                             Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
   D Yes......................                                    Institution name or individual:



Official Form 106A/B                                                           ScheduleA/B: Property                                                               page3
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  Debtor 1       Ma       LATasha N                                                                     Case numberf/f known)

 23. Annuities (Acontractfora periodicpaymentof moneyto you, eitherfor lifeorfora numberofyears)
         No
     D Yes.............        Issuername and description.

 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U. S.C. §§530(b)(1), 529A(b), and 529(b)(1).
         No
     D Yes.............        Institutionnameand description. Separatelyfilethe records of anyinterests. 11 U.S.C. § 521(c):

 25. Trusts, equitableorfuture interests in property (other than anythinglisted in line 1), and rightsor powersexercisablefor your benefit
        No
     D Yes. Give specific information about them...

 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
     D Yes. Give specificinformationaboutthem...

 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
    D Yes. Give specific information about them...

 Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
      No
    D Yes. Givespecific information aboutthem, including whetheryou alreadyfiledthe returns andthetaxyears.......


29. Family support
      Examples:Pastdueor lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
    D Yes. Give specific information......


30. Other amounts someone owes you
      Examples:Unpaidwages,disabilityinsurancepayments, disabilitybenefits,sickpay,vacationpay, workers' compensation.SocialSecuritybenefits;
                   unpaid loans you made to someone else
        No
    D Yes. Givespecificinformation..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
       No
    D Yes. Nametheinsurancecompanyofeachpolicyandlistitsvalue.
                                      Company name:                                          Beneficiary:                        Surrenderor refund
                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
      Ifyou arethe beneficiaryof a livingtrust, expectproceedsfrom a lifeinsurancepolicy, or arecurrentlyentitled to receivepropertybecausesomeonehas
      died.

       No
    a Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
   D Yes. Describe each claim.



Official Form 106A/B                                            ScheduleA/B: Property                                                              page 4
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   Debtor 1        Ma LATasha N                                                                         Case number(if known)

 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       D Yes. Describeeachclaim.

 35. Any financial assets you did not already list
       No
       D Yes. Give specific information..

  36. Addthe dollarvalue ofall ofyour entries from Part4, includingany entriesfor pagesyou haveattachedfor
         Part 4. Write that number here.....                                                                                            $300.00

  Part 5: DescribeAny Business-RelatedPropertyYou Ownor Havean Interest In. Listany real estate in Part 1.

 37     o you own or have any legal or equitable interest in any business-related property?
        No. Go to Part 6.

      D Yes. Goto line38.


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.

 46. o you own or have any legal or equitable interest in any farm-or commercialflshing-related property?
            No. Go to Part 7.
        D Yes. Goto line47.

  Part 7:         DescribeAll Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
      D Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                      $0. 00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, tine 2                                                                                               $254,375.00
 56. Part 2: Total vehicles, line 5                                                          $0.00
 57. Part 3: Total personal and household items, line 15                                $6, 050. 00
 58. Part 4: Total financial assets, line 36                                              $300.00
 59. Part 5: Total business-related property, line 45                                        $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                               $0.00
 61. Part 7: Total other property not listed, line 54                                        $0.00

 62. Total personal property. Add lines 56 through 61...                                $6,350.00     Copypersonal propertytotal         $6 350.00

 63. Total of all property on ScheduleA/B. Add line 55 + line 62                                                                   $260, 725. 00




Official Form 106A/B                                              ScheduleA/B: Property                                                       page5
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                                                              Main Document     Page 7 of 34
               Fill in this information to identify your case:
   Debtor 1                 LATasha N Ma
                            First Name                       Middle Name                  LastName
   Debtor 2
   (Spouse if, filing)      First Name                       Middle Nama                  Last Name


   United States Bankruptcy Court for the:             DISTRICT OF ARIZONA, PHOENIX DIVISION

  Case number
  (if known)
                                                                                                                                       d    Check if this is an
                                                                                                                                            amended filing

 Official Form 106C
 Schedule C: The roperty                                               ou Claim as                         mpt                                                    4/16

 Be as complete and accurate as possible. Iftwo married people arefiling together, both are equally responsible for supplying correct information. Using the
 propertyyou listedon ScheduleA/B:Property(OfficialForm 106A/B)as yoursource, listthepropertythat you claimas exempt. If morespaceis needed,fill
 out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of anyadditional pages, write your name and case number (if
 known).

 For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
 specificdollaramountasexempt.Alternatively,you mayclaimthefull fairmarketvalueofthe property beingexemptedupto theamountofany
 applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
 funds-may be unlimited in dollar amount. However, if you claim an exemption of 100%of fair market value under a law that limits the exemption
 to a particulardollar amountandthe valueofthe property is determinedto exceedthat amount, your exemption would be limitedto the
 applicable statutory amount.
  Part 1:         Identi   the Pro e      You Claim as Exem t

  1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

            You are claiming state and federal nonbankruptcy exemptions. 11 U. S. C. § 522(b)(3)
       D Youareclaimingfederalexemptions. 11 U.S.C. § 522(b)(2)
  2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
       Brief description of the property and line on          Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own
                                                              Copythe value from      Check only one box for each exemption.
                                                              Schedule A/B

                                                                   $254,375.00        D                                        Ariz. Rev. Stat. § 33-1101(A)
       11044W LaneAve
       GlendaleAZ, 85307.1626                                                               100%of fair marketvalue, up to
       Line from Schedule A/B. 1.1                                                         any applicable statutory limit


       Beds, Table, Living Room Set,                                  $5,000.00 a                                              Ariz. Rev. Stat. § 33-1123
       Linen, Lamps, Shelves Etc.
       Linefrom Schedule A/B. 6.1                                                          100% of fair marketvalue, up to
                                                                                           any applicable statutory limit

      T.V.s                                                                $200.00                                             Ariz. Rev. Stat. § 33.1123
      Line from Schedule A/B. 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Cell Phone                                                           $250. 00                                   100%     Ariz. Rev. Stat. § 33-1123
      Linefrom Schedule fiJB. 7.2
                                                                                      1-3 100%offairmarketvalue,upto
                                                                                           any applicable statutory limit

      Cell Phone                                                           $250. 00 a                                          Ariz. Rev. Stat. § 33.1125(7)
      Line from Schedule A/G. 7.2
                                                                                           100% of fair marketvalue, up to
                                                                                           any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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       Briefdescription ofthe property and line on            Currentvalue of the   Amountof the exemption you claim        Specificlawsthat allowexemption
       Schedule A/Bthat lists this property                   portion you own
                                                              Copythe value from    Checkonly one box for each exemption.
                                                              Schedule A/B

       Womans Clothing                                                 $300. 00 a                                           Ariz. Rev. Stat. § 33-1125(1)
       Line from ScheduleA/B. 11.1
                                                                                         100%of fair marketvalue, up to
                                                                                         any applicable statutory limit


       WeddingRing                                                     $300. 00 a                                           Ariz. Rev. Stat. § 33-1125(4)
       Linefrom ScheduleA/B. 1 2.1
                                                                                         100%of fair market value, up to
                                                                                         any applicable statutory limit

       Checking Acct                                                   $300.00 a                                            Ariz. Rev. Stat. §
       Line from Schedule A/6. 17.1                                                                                         33.1126(A)(9)
                                                                                        100% of fair marketvalue, up to
                                                                                        any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $160, 375?
     (Subjectto adjustment on 4/01/19 and every 3 years afterthatfor cases filed on or afterthe dateof adjustment.)
     D No
             Yes. Did you acquire the property covered by the exemption within 1, 215 days before you filed this case?
                     No
             D      Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                page2 of 2
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              Fill in this information to identify your case:
  Debtor 1                   LATasha N Ma
                             First Name                       MiddleName                      Last Name

  Debtor 2
  (Spouse if, filing)       First Name                        Middle Name                     Last Name


  United States Bankruptcy Court for the:                DISTRICT OF ARIZONA, PHOENIX DIVISION

  Case number
  (if known)                                                                                                                                 C] Check ifthis is an
                                                                                                                                                amended filing

 Official Form 106D
 Schedule D: Creditors                                         Have Claims Secured by Property                                                                     12/15
 Be as complete andaccurateas possible. Iftwo married peoplearefiling together, both are equally responsiblefor supplying correct information. If more spaceis
 needed, copythe Additional Page,fill it out, numberthe entries, and attach it to this form. On the top of anyadditional pages, writeyour name and case number(if
 known).
 1. Do any creditors have claims secured by your property?
        D No.Checkthis boxandsubmitthisformtothecourtwithyourotherschedules.Youhavenothingelsetoreportonthisform.
            Yes. Fill in all of the information below.
  Part 1:        List All Secured Claims
                                                                                                           Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particularclaim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor 's name.                Do not deduct the      that supports this     portion
                                                                                                           value of collateral.   claim                  If any
 2. 1     Nation Star Mort age                     Describethe property that secures the claim:              $109,956.98              $254. 375. 00                 $0.00
         Creditor's Name
                                                   11044 W LaneAve, Glendale, AZ
                                                   85307-1626
         8950 CYPRESSWATERS
                                                   As of the date you file, the claim is: Checkall that
         BLVD                                      apply.
         Dallas, TX 75201                          D Contingent
         Number, Street, City, State & Zip Code    D Unliquidated
                                                   a Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                 D An agreement you made (such asmortgage or secured
                                                         car loan)
 a Debtor2 only
 D Debtor 1 and Debtor 2 only                      D Statutory lien (such astax lien, mechanic's lien)
 D At least one of the debtors and another         D Judgment lien from a lawsuit
 D Check if this claim relates to a                D Other (including a rightto offset)
        community debt

 Date debt was incurred                                     Last 4 digits of account number



 AddthedollarvalueofyourentriesInColumnA onthispage.Writethatnumberhere:                                            $109,956.98
 If this is the last page of your form, add the dollar value totals from all pages.
 Writethat numberhere:                                                                                              »iu»,s»ao.t

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this pageonly if you haveothersto be notifiedaboutyour bankruptcyfor a debtthat you alreadylisted in Part 1. Forexample, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the collection agency here. Similarly, if you have more
 than onecreditorfor anyofthe debts that you listed in Part 1, list the additionalcreditors here. Ifyou do not haveadditionalpersons to be notifiedfor any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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       Fill in this information to identify your case:

  Debtor 1                    LATasha N Ma
                              First Name                     MiddleName                          Last Name

  Debtor 2
  (Spouse if, filing)         First Name                     Middle Name                         Last Name


  United States Bankruptcy Court for the:              DISTRICT OF ARIZONA, PHOENIX DIVISION

  Case number
  (If known)                                                                                                                                         D Check if this is an
                                                                                                                                                          amended filing

 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurateaspossible. Use Part 1 for creditorswith PRIORITYclaims and Part2 for creditors with NONPRIORITYclaims. Listthe other partyto
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:          List All of Your PRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims againstyou?
            No. Go to Part 2.
    D Yes.
 Dar* 2: List All of Your NONPRIORITy Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims againstyou?

       D No.You have nothing to report inthis part. Submit thisform tothe courtwith yourother schedules.
           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriortty
       unsecured claim, list the creditor separatelyfor each daim. Foreach daim listed, identifywhattype of claim it is. Do not list claims already included in Part 1. If more
       than ons creditor holds a particular claim, list the other creditors in Part 3. 1f you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                             Total claim

 4.1           AMERICANCREDITACCEPTAN                                Last 4 digits of account number                                                                   $17, 122. 00
               Nonpriority Creditor's Name
                                                                     When was the debt incurred?
               961 E MAIN ST2ND FL
               S artanbur , SC 29301
               NumberStreet City State Zip Code                      As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                  Debtor 1 only                                      D Contingent
               D Debtor2 only                                        d Unliquidated
               D Debtor 1 and Debtor2 only                           D Disputed
               D At leastone ofthe debtorsand another                Type of NONPRIORITY unsecured claim:

               D Checkifthis claimisfora community                   D Student loans
               debt                                                  D Obligations arising out ofa separation agreement ordivorce thatyou did not
               Is the claim subject to offset?                       report as priority claims
                  No                                                 D Debtsto pension or profit-sharing plans, and othersimilardebts
               D Yes                                                       Other. Specify




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  4.2       CAPITALONE                                              Last 4 digits of account number                                                   $322. 00
            Nonpriority Creditor's Name
                                                                    When was the debt Incurred?
            PO Box 30253
            Salt Lake Ci , UT 84130-0253
            Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                       D Contingent
            D Debtor2 only                                          D Unliquidated
            D Debtor1 andDebtor2 only                               D Disputed
            D At least one ofthe debtors and another                Type of NONPRIORITY unsecured claim:

            D Checkifthisclaim is fora community                    D Student loans
            debt                                                    D Obligations arising outofa separation agreement ordivorce that you did not
            Is the claim subject to offset?                         report as priority claims
                No                                                  D Debtsto pension or profit-sharing plans, and other similar debts
            a Yes                                                       Other. Specify


 43 |       CAPITALONE BANK USA                                     Last 4 digits of account number                                                 $5,703.00
            Nonpriority Creditor's Name
                                                                    When was the debt incurred?

            10700Capitol OneWay
           Glen Alien, VA 23060-9243
           Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
           D Debtor2 only                                           D Unliquidated
           D Debtor1 andDebtor2 only                                D Disputed
           D At least one ofthe debtors and another                 Type of NONPRIORITYunsecured claim:

           D Checkifthis claimis fora community                     D Student loans
           debt                                                     D Obligations arising outofa separation agreement or divorce thatyou did not
           Is the claim subject to offset?                          report as priority claims
               No                                                   D Debtsto pension or profit-sharing plans, andothersimilar debts
           D Yes                                                       Other. Specify


 4.4       CAPITALONE BANK USA NA                                   Last 4 digits of account number                                                  $341.00
           Nonpriority Creditor's Name
                                                                   When was the debt Incurred?

           10700Capitol One Way
           Glen Alien, VA 23060-9243
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
           D Debtor 2 only                                          D Unliquidated
           D Debtor1 andDebtor2 only                                D Disputed
           D At least one ofthe debtors and another                Type of NONPRIORFTYunsecured claim:

           D Checkifthisclaim isfor a community                     a Studentloans
           debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                         report as priority claims
               No                                                   D Debtsto pensionorprofit-sharingplans, andothersimilardebts
           D Yes                                                       Other. Specify




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  4.5        COMENITYBANK/DVDSBR                                     Last4 digits of account number                                                $141.00
             Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            PO Box 182120
            Columbus, OH 43218-2120
            Number Street City State Zip Code                       As of the dateyou file, the claim is: Checkall thatapply
            Who Incurred the debt? Check one.
                  Debtor 1 only                                      D Contingent
            D Debtor 2 only                                          D Unliquidated
            D Debtor 1 and Debtor 2 only                             D Disputed
            D At least one ofthe debtors and another                Type of NONPRIORITYunsecured claim:
            D Check ifthis claim is for a community                 D Student loans
            debt                                                    D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                         report as priority claims
                No                                                  D Debtstopensionorprofit-sharingplans,andothersimilardebts
            a Yes                                                       Other. Specify


  4.6       CONVERGENTOUTSOURCING                                   Last4 digits of account number                                                $192. 00
            Nonpriority Creditor's Name
                                                                    When was the debt incurred?
            PO Box 9004
            Renton, WA 98057-9004
            Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                       D Contingent
            D Debtor 2 only                                         D Unliquidated
            D Debtor 1 andDebtor2 only                              D Disputed
            D At least one ofthe debtors and another                Type of NONPRIORITYunsecured claim:
            D Check if this claim is for a community                D Student loans
            debt                                                    D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subjectto offset?                          report as priority claims
               No                                                   D Debts to pension or profit-sharing plans, and other similar debts
            a Yes                                                      Other. Specify


 4.7       EOS CCA                                                  Last4 digits of account number                                                 $98.00
           Nonpriority Creditor's Name
                                                                    When was the debt incurred?
           PO Box 981025
           Boston, MA 02298-1025
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
           d Debtor2 only                                           D Unliquidated
           D Debtor1 andDebtor2 only                                D Disputed
           D At least one ofthe debtors and another                Type of NONPRIORITYunsecured claim:
           D Check ifthis claim is for a community                  D Student loans
           debt                                                                                                                           li(
           Is the claim subject to offset?                         report as priority claims
               No                                                   D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                       Other. Specify




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  4.8       FEDLOANSERVICING                                        Last 4 digits of account number                                                  unknown
            Nonpriority Creditor's Name
                                                                    When was the debt incurred?
            PO Box 60610
            Harnsbur , PA 17106-0610
           NumberStreet City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
            D Debtor2 only                                          D Unliquidated
            D Debtor1 andDebtor2 only                               D Disputed
            D At least one ofthe debtors and another                Type ofNONPRIORmrunsecured claim;
                                                                        Student loans
            D Check ifthis claim is for a community
           debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyou didnot
           Is the claim subject to offset?                          report as priority claims
               No                                                   D Debts to pension orprofit-sharing plans, and othersimilardebts
           D Yes                                                    D Other.Specify

 4.9       FIRSTCU                                                  Last 4 digits of account number                                                $20, 635. 00
           Nonprlority Creditor's Name
                                                                    When was the debt incurred?
           25 S Arizona Pl # PLSUITE111
           Chandler, AZ 85225-5533
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Checkone.

               Debtor 1 only                                        D Contingent
           D Debtor2 only                                           D Unliquidated
           D Debtor1 andDebtor2 only                                D Disputed
           D At leastone ofthe debtors and another                  Type of NONPRIORITYunsecured claim:

           D Checkifthisclaimisfora community                       D Student loans
           debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                          report as priority claims
               No                                                   D Debtsto pension orprofit-sharing plans, andother similar debts
           D Yes                                                       Other. Specify


14. 10)    FIRST CU                                                Last 4 digits of account number                                                  $2, 529. 00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           25 S Arizona Pl # PLSUITE111
           Chandler, AZ 85225.5533
           Number Street City State Zip Code                       As of the date you file, the claim is: Checkall that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                       D Contingent
           D Debtor2 onlv                                          D Unliquidated
           D Debtor 1 and Debtor2 only                             D Disputed
           D At leastone ofthedebtorsand another                   Type of NONPRIORITYunsecuredclaim:
           D Check ifthis claim isfor a community                  D Student loans
           debt                                                    D Obligations arisingout ofa separation agreement or divorce thatyou did not
           Is the claim subject to offset?                         report as priority claims
               No                                                  D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                       Other. Specify




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            FIRSTINVESTORSSERVICING
  4. 11     CORPORATION                                             Last4 digits of account number                                                  $29,483.00
            NonpriorityCreditor's Name
                                                                    When was the debt incurred?

           380 Interstate North Pkwy SE Ste
           300
           Atlanta, GA 30339-2222
           NumberStreetCity StateZip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
            D Debtor 2 only                                         D Unliquidated
            D Debtor1 andDebtor2 only                               D Disputed
            D At leastoneofthe debtorsand another                  Type of NONPRIORITY unsecured claim:

            D Checkifthisclaimisfora community                      D Studentloans
           debt                                                     D Obligations arising out ofa separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                         report as priority claims

               No                                                   D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                       Other. Specify



           Gurstel Law Firm for Ca ital One                        Last 4 digits of account number                                                  $5, 847. 50
           NonpriorityCreditor's Name
                                                                   When was the debt Incurred?
           9320 E Raintree Dr
           Scottsdale, AZ 85260-2016
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                       D Contingent
           D Debtor2 only                                          a Unliquidated
           D Debtor1 andDebtor2 only                               D Disputed
           D At leastoneofthe debtorsand another                   Type of NONPRIORirr unsecured claim:

           D Check ifthis claim isfor a community                  D Student loans
           debt                                                    D Obligations arising out ofa separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                         report as priority claims
               No                                                  D Debts to pension orprofit-sharing plans, andother similar debts
           D Yes                                                      Other. Specify


 4131      KOHLSDEPARTMENTSTORE                                    Last 4 digits of account number                                                    $731.00
           Nonpriority Creditor's Name
                                                                   Whenwas the debt incurred?
           PO Box 3115
           Milwaukee, Wl 53201. 3115
           NumberStreet City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                       D Contingent
           D Debtor2 only                                          D Unliquidated
           D Debtor1 andDebtor2 only                               D Disputed
           D At leastoneofthe debtorsandanother                    Type of NONPRIORITYunsecured claim:

           D Check ifthis claim is for a community                 D Student loans
           debt                                                    D Obligations arising out ofa separation agreement ordivorce thatyou didnot
           Is the claim subject to offset?                         report as priority claims
               No                                                  D Debtsto pensionorprofit-sharingplans, andothersimilardebts
           D Yes




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  4. 14|     NEMO'SCOLLECTIONS                                        Last4 digits of account number                                            $77.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            14631 N Cave Creek Rd
            Phoenix AZ 85022-4159
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who Incurred the debt? Check one.

                Debtor 1 only                                        D Contingent
            D Debtor 2 only                                          D Unliquidated
            D Debtor1 andDebtor2 only                                D Disputed
            D At least one of the debtors and another                Type of NONPRIORHYunsecured claim:
            D Check ifthis claim is for a community                  D Studentloans
            debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                          report as priority claims

                No                                                   D Debtsto pension orprofit-sharing plans, andothersimilar debts
            a Yes                                                        Other. Specify


  4. 15     PORTFOLIORECOVERY                                        Last 4 digits of account number                                          $139.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            120 Corporate Blvd # BLVDSUITE
            100
            Norfolk, VA 23502-4952
            Number treet City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                        D Contingent
            D Debtor 2 only                                          D Unliquidated
            D Debtor1 andDebtor2 only                                D Disputed
            D At least one ofthe debtors and another                 Typeof NONPRIORITYunsecured claim:
            D Check ifthis claim isfor a community                   D Student loans
            debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                          report as priority claims
               No                                                    D Debts to pension or profit-sharing plans, andothersimilar debts
            a Yes                                                       Other. Specify


 4. 161    SEARS/CBNA                                               Last 4 digits of account number                                           $650.00
           Nonpriority Creditor's Name
                                                                    When was the debt incurred?
           PO Box 6282
           Sioux Falls, SD 57117-6282
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
           D Debtor2 only                                           D Unliquidated
           D Debtor 1 and Debtor2 only                              D Disputed
           D At leastone ofthe debtors and another                  Type of NONPRIORinr unsecured claim:

           D Check ifthis claim is for a community                  D Studentloans
           debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                          report as priority claims

               No                                                   D Debts to pension or profit-sharing plans, andothersimilardebts
           D Yes                                                        Other. Specify




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  4. 17     SYNCB/ASHLEY HOMESTORES                                  Last4 digits of account number                                                            $3,514.00
            NonpriorityCreditor's Name
                                                                     When was the debt incurred?

            PO Box 965001
            Orlando, FL 32896-5001
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                        D Contingent
            D Debtor2 only                                           D Unliquidated
            D Debtor 1 and Debtor 2 only                             D Disputed
            D At least one ofthe debtorsand another                  Type ofNONPRIORITT unsecured claim:

            D Checkifthis claimisfora community                      D Student loans
            debt                                                     D Obligations arising outofa separation agreement or divorce thatyou did not
            Is the claim subject to offset?                          report as priority claims

                No                                                   D Debtsto pension or profit-sharing plans, and othersimilar debts
            D Yes                                                        Other. Specify


 4. 18      SYNCB/WAL-MART                                           Last4 digits of account number                                                              $953.00
            NonpriorityCreditor's Name
                                                                     When was the debt incurred?
            PO Box 965024
            Orlando, FL 32896.5024
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
            D Debtor2 only                                           D Unliquidated
            D Debtor1 andDebtor2 only                                D Disputed
            D At least one ofthe debtors and another                 Type of NONPRIORITYunsecured claim:

            D Checkifthisclaim isfora community                      D Studentloans
           debt                                                      D Obligations arising outofa separation agreement or divorce thatyou didnot
           Is the claim subject to offset?                           report as priority claims

               No                                                    D Debtsto pension or profit-sharing plans, and other similar debts
           D Yes                                                        Other. Specify


 4. 19     TD BANK USA/TARGET CREDI                                 Last 4 digits of account number                                                              $482.00
           Nonpriority Creditor's Name
           NCD-0450PO                                               When was the debt incurred?
           PO Box 1470
           Minnea olis, MN 55440-1470
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                        D Contingent
           D Debtor2 only                                           D Unliquidated
           D Debtor 1 andDebtor 2 only                              D Disputed
           D At leastone ofthe debtorsand another                   Type of NONPRIORirr unsecured claim:
           D Check ifthis claim isfor a community                   D Student loans
           debt                                                     D Obligations arising outofa separation agreement or divorce thatyou did not
           Is the claim subject to offset?                          report as priority claims
               No                                                   D Debtsto pension or profit-sharing plans, andother similardebts
           D Yes


 Part 3:      List Others to Be NotifiedAbout a Debt That You Alread Listed
5. Use this pageonly if you haveothersto be notified aboutyour bankruptcy,for a debtthat you already listed in Parts 1 or 2. Forexample, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


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   Debtor 1 Ma , LATasha N                                                                             Case number(fknow)
   Part 4:      Add the Amounts for Each T              e of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This Information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                      Total Claim
                         6a.    Domestic support obligations                                           6a.                            0.00
  Total claims
   from Part 1           6b. Taxesand certain other debts you owethe government                        Sb.                           0.00
                         6c. Claims for death or personal Injury while you were Intoxicated            6c.                           0.00
                         6d. Other. Add all other priority unsecured claims. Write that amount here.   6d.                           0.00

                         6e.   Total Priority. Add lines 6a through 6d.                                6e.                           0.00

                                                                                                                      Total Claim
                         6f.   Student loans                                                           6f.     $                     0.00
  Total claims
   from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                               you did not report as priority claims                                   6g.     $                     0. 00
                         6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.     $                     0.00
                         6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                               here.                                                                           $               88,959.50

                         6j.   Total Nonpriorlty. Add lines 6f through 6i.                             6j.     $               88,959.50




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                Fill in this information to identify your case:

  Debtor 1                   LATasha N Ma
                            First Name                         Middle Name             Last Name

  Debtor 2
  (Spouse if, filing)       First Name                        Middle Name              Last Name


  United States BankmptcyCourtfor the:                  DISTRICTOFARIZONA,PHOENIXDIVISION

  Case number
  (if known)                                                                                                                       D Check ifthis is an
                                                                                                                                     amended filing


 Official Form 106G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
 Be as complete andaccurateas possible.Iftwo married people arefilingtogether, both areequally responsiblefor supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
            No. Checkthis boxandfilethisformwiththecourtwithyourotherschedules. You havenothingelseto report on this form.
        D Yes. Fill inall ofthe information beloweven ifthe contacts of leases arelisted on ScheduleAB;Properiy(Official Form 106A/B).
2.      Listseparately eachperson or companywithwhom you havethe contract or lease.Then state whateach contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


          Person or company with whom you have the contract or lease                     State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street


           Ci                                       State                   ZIP Code
  2.2
           Name


           Number        Street


           Cl                                       State                   ZIP Code
  2.3
           Name



           Number        Street

           d                                        State                   ZIP Code
  2.4
           Name


           Number        Street


           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

          Ci                                        State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page1 of 1
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              Fill in this information to identify your case:
  Debtor 1                    LATasha N Ma
                              First Name                                             Last Name

  Debtor 2
  (Spouse if, filing)         First Name                          Middle Name


  United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (If known)                                                                                                                   D Check if this is an
                                                                                                                                  amendedfiling

Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtorsare people or entities whoarealso liablefor any debtsyou may have. Be as complete andaccurateas possible. Iftwo married people
arefilingtogether, both are equally responsiblefor supplying correct information. Ifmore space is needed,copy the Additional Page,fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answerevery question.

        1. Do you have any codebtors? (If you arefiling a joint case, do not list eitherspouse as a codebtor.

            No
       D Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

            No. Go to line 3.
       D Yes.Didyourspouse,formerspouse,orlegalequivalentlivewithyouatthetime?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or ScheduleG (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
       Column 2.

                 Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                 Name, Number, Street, City, State and ZIP Code                                       Checkall schedules that apply:

                                                                                                      C] ScheduleD, line
                 Name
                                                                                                      D ScheduleE/F, line
                                                                                                      D ScheduleG, line
                 Number             Street

                 City                                                                ZIPCode



                                                                                                     a ScheduleD, line
                 Name
                                                                                                     D Schedule E/F, line
                                                                                                     D ScheduleG, line
                 Number             Street
                 City                                     State                      ZIPCode




Official Form 106H                                                              Schedule H: Your Codebtors                                   Page 1 of 1
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  Fill in this information to identify your case:

 Debtor 1                       LATasha N Ma

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number                                                                                                Check if this is:
 fffknown)
                                                                                                            a An amended filing
                                                                                                            D A supplement showing postpetition chapter 13
                                                                                                                incomeas of thefollowingdate:
 Official Form 1061                                                                                             MM /DD/YYYY
 Schedule I: Your Income                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Parti;                Describe Employment
 1.     Fill in your employment
        information.                                                   Debtor 1                                    Debtor 2 or non-filina soouse

        If you have more than onejob,                                     Employed                                 D Employed
        attach a separate pagewith             Employment status
        information about additional                                   D Notemployed                               D Not employed
        employers.
                                               Occupation
       Include part-time, seasonal, or
       self-employed work.                     Employer's name        Stichfix

       Occupation may include student or Employer's address
        homemaker, if it applies.


                                               How long employed there?           7 months

 Part 2:               Give Details About Monthl    Income


Estimatemonthly income as of the date you file this form. Ifyou havenothingto reportforanyline, write$0 in thespace. Includeyournon-filingspouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for alt employers for that person on the lines below. If you need more
space, attach a separate sheetto this form.

                                                                                                         For Debtor 1           For Debtor 2 or
                                                                                                                                non-filin spouse

       List monthly gross wages, salary, and commissions (before all payroll
 2-    deductions). If not paid monthly, calculate whatthe monthly wagewould be.               2.    $         2,343.46         $             N/A

 3.    Estimate and list monthly overtime pay.                                                 3.   +$              0.00        +$            N/A

 4.    Calculate gross Income. Add line 2 + line 3.                                            4.    $      2, 343. 46               $      N/A




OfBcial Form 1061                                                         Schedule I: Your Income                                                     page 1

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  Debtor1     Ma , LATasha N                                                                        Case number (ifknown)


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
        Copy line 4 here                                                                      4.     $        2 343.46       $              N/A
  5.    List all payroll deductions:
       5a.     Tax, Medicare, and Social Security deductions                                  5a.    $          525.57       $                N/A
       5b.     Mandatory contributionsfor retirement plans                                    5b.    $            0.00       s                N/A
       5c.     Voluntary contributions for retirement plans                                   5c.    $            0.00       $                N/A
       5d.     Required repayments of retirement fund loans                                   5d.    $            0.00       $                N/A
       5e.     Insurance                                                                      5e.    $              0.00     $                N/A
       5f.     Domestic support obligations                                                   5f.    $              0.00     $                N/A
       5g.     Union dues                                                                     5g.    $              0.00     $                N/A
       5h.     Other deductions. Specify:                                                     5h.+ $                0.00 + $                  N/A
  6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.     $          525.57       $                N/A
  7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $       1,817.89        $                N/A
       List all other income regularly received:
       8a. Net income from rental property and from operating a business,
              profession, or farm
             Attach a statement for each propertyand business showinggross
              receipts, ordinaryand necessarybusiness expenses, and the total
             monthly net income.                                                              8a.    $              0.00     $                N/A
       8b.   Interest and dividends                                                           8b.    $              0.00     $                N/A
       8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                             8c.    $              0.00     $                N/A
       8d.   Unemployment compensation                                                        8d.    $              0.00     $                N/A
       8e.   Social Security                                                                  8e.    $              0.00     $                N/A
       8f.   Other government assistancethat you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                        8f. $                 0.00     $             N/A
       8g.    Pension or retirement income                                                    8g. $                 0.00     $             N/A
       8h.    Other monthly income. Specify:                                                  8h.+ $                0.00    +$             N/A

 9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9, $                  0.00     $                N/A

 10. Calculate monthly income. Add line 7 + line 9.                                        10. $
                                                                                           10. $         1,817. 89 ++ $
                                                                                                         1,817.89                 N/A =             1,817.89
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Donot includeanyamountsalreadyincludedin lines 2-10oramountsthatarenotavailableto payexpenseslisted in ScheduleJ.
       Specify:                                                                                                                    11.   +$             0.00

 12. Add the amount in the last column of line 10to the amountin line 11. The result is the combined monthly income.
       WritethaiamountontheSummayyofSchedulesandStatisticalSummaryofCertainLiabilitiesandRelatedDafa,ifitapplies 12. $                              1,817.89
                                                                                                                                         Combined
                                                                                                                                         monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
       D       Yes. Explain:




Official Foim 1061                                                        Schedule I: Your Income                                                    page 2


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 Fill in this information to identify your case:

 Debtor1                LATashaN Ma                                                                         Check if this is:
                                                                                                            D An amendedfiling
 Debtor 2                                                                                                   C] A supplement showing postpetition chapter 13
 (Spouse, iffiling)                                                                                                expenses as of the following date:

 United States BankruptcyCourtforthe:     DISTRICTOFARIZONA, PHOENIXDIVISION                                       MM / DD/ YYYY

 Case number
 (If known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                 12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answerevery question.

 Part 1:       Describe Your Household
 1.   is       a joint case?

            No. Go to line 2.
       D Yes. Does Debtor 2 live in a separate household?
                a No
                D Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household^ Debtor 2.

 2.    Do you have dependents?              No

      Do not list Debtor 1 and          D Yes.     Fill out this information for   Dependent's relationship to        Dependent's         Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2               age                 live with you?

      Do not state the                                                                                                                    D No
      dependents names.                                                                                                                   D Yes
                                                                                                                                          D No
                                                                                                                                          D Yes
                                                                                                                                          D No
                                                                                                                                          D Yes
                                                                                                                                          D No
                                                                                                                                          D Yes
 3.   Do your expenses include                     ^p
      expenses of people other than
      yourself and your dependents?

            Bstimate Your Ongoing Monthly Expenses
  stimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date afterthe bankruptcy is filed. If this is a supplemental Schedule J, checkthe box at the top of the form and fill in the
 applicable date.

 Includeexpenses paid for with non-cash government assistance if you knowthe
value of such assistance and have included it on Schedule I: Your Income
 (OfficialForm 1061.)                                                                                                      Your expenses

4.    The rental or home ownership expensesfor your residence. Include first mortgage
      paymentsandanyrentforthegroundorlot.                                                                  4. $                              946.00
      If not included in line 4:


      4a.     Real estate taxes                                                                            4a. $                                0.00
      4b.     Property, homeowner's, or renter's insurance                                                4b. $                                75.00
      4c.     Home maintenance, repair, and upkeep expenses                                               4c. $                               100.00
      4d.     Homeowner's association or condominium dues                                                 4d. $                                75.00
5.    Additional mortgage payments for your residence, such as home equityloans                             5. $                                0.00




Official Form 106J                                                   ScheduleJ: Your Expenses


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  Debtor 1     Ma LATasha N                                                                  Case number (if known)

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                         6a. $                             300.00
       6b. Water, sewer, garbagecollection                                                        6b. $                             130.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                         6c. $                            200.00
       6d. Other. Specify: Cell Phone                                                             6d. $                            250.00
 7.    Food and housekeepingsupplies                                                               7. $                            300.00
 8.    Childcare and children's education costs                                                    8. $                              0.00
 9.    Clothing, laundry, and dry cleaning                                                         9. $                             50.00
 10.   Personal care products and services                                                        10. $                              0.00
 11. Medical and dental expenses                                                                  11. $                              0.00
 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                 12. $                               0.00
 13. Entertainment, clubs, recreation, newspapers, magazines, and books                           13. $                               0.00
 14. Charitable contributions and religious donations                                             14. $                               0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a.   Life insurance                                                                     15a. $                              0.00
       15b.   Health insurance                                                                   15b. $                            150.00
       15c.   Vehicle insurance                                                                  15c. $                             90.00
       15d. Other insurance. Specify:                                                            15d. $                              0.00
 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                   16. $                               0.00
 17.   Installment or lease payments:
     17a. Car payments for Vehicle 1                                                             17a. $                               0.00
     17b. Car payments for Vehicle 2                                                             17b. $                               0.00
     17c. Other. Specify:                                                                        17c. $                               0.00
     17d. Other. Specify:                                                                        17d. $                               0.00
 18. Your payments of alimony, maintenance, and support that you did not report as
     deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).              18. $                               0.00
 19. Other payments you make to support others who do not live with you.                               $                              0.00
     Specify:                                                                                 19.
 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule
                                                                                        Ie I:
                                                                                           I: Your Income.
       20a. Mortgages on other property                                                         20a. $                                0.00
       20b. Real estate taxes                                                                   20b. $                                0.00
       20c. Property, homeowner's, or renter's insurance                                        20c. $                                0.00
       20d. Maintenance, repair, and upkeep expenses                                            20d. $                                0. 00
       20e.   Homeowner's association or condominium dues                                       20e. $                                0.00
 21. Other: Specify:        GYM                                                                  21. +$                             10. 00
 22. Calculate your monthly expenses
     22a. Add lines 4 through 21.                                                                          $                  2,676.00
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                     $                  2, 676. 00
 23. Calculate your monthly net income.
     23a. Copy line '\2(your combined monthly income) from Schedule I.                          23a. $                          1, 817. 89
     23b. Copyyour monthly expensesfrom line 22c above.                                         23b. -$                         2,676.00

       23c. Subtractyour monthly expenses from your monthly income.
              The resultisyour monthly netincome.                                               23c. $                            -858.11

 24. Do you expect an increase or decrease in your expenseswithinthe year after you file this form?
     Forexample, do you expectto finishpayingfor yourcarloanwithintheyearordo you expectyourmortgage paymentto increaseor decreasebecauseof a
       modification to the terms of your mortgage?
         No.
       D Yes.              Explain here:




Official Form 106J                                            ScheduleJ: Your Expenses


         Case 2:18-bk-14699-PS                       Doc 9 Filed 12/04/18 Entered 12/06/18 11:34:29                                   Desc
                                                     Main Document    Page 24 of 34
       Fill in this information to identify your case:

 Debtor 1                    LATasha N Ma
                             First Name             Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)         First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:        DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (if known)                                                                                                              [3 Check if this is an
                                                                                                                            amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                12/15

Iftwo married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519,and 3571.


                       Sign Below


        Didyou pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

        [3      Yes. Nameof person                                                                    Attach Bankruptcy Petition Preparer's Notice,
                                                                                                      Declaration, and Signature(Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that the         ar true an    correct.



              L        as M                                                   Signature of Debtor 2
             Signatureof Debtor 1

             Date        December 3 2018                                      Date




              Case 2:18-bk-14699-PS                      Doc 9 Filed 12/04/18 Entered 12/06/18 11:34:29                                Desc
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              Fill in this information to identify your case:

 Debtor 1                   LATasha N Ma
                            First Name                     Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)        First Name                     Middle Name                 Last Name


 United States Bankmptcy Courtforthe:               DISTRICTOFARIZONA,PHOENIXDIVISION

 Case number
 (if known)                                                                                                                            d Check if this is an
                                                                                                                                         amendedfiling


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsiblefor supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and WhereYou Lived Before

1.    What is your current marital status?

               Married
       D Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

               No
       D Yes. Listall of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                               Dates Debtor 1 lived       Debtor 2 Prior Address:                              Dates Debtor 2
                                                              there                                                                           lived there

3.    Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? {Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
      D Yes. Makesureyoufill out ScheduleH: YourCodebtors(OfficialForm 106H).

 Part 2         Explainthe Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and alt businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      D No
               Yes. Fill in the details.

                                                 Debtor 1                                                      Debtor 2
                                                 Sources of income               Gross income                  Sources of income               Gross income
                                                 Check all that apply.           (beforedeductions and         Check all that apply.          (beforedeductions
                                                                                 exclusions)                                                  and exclusions)
From January 1 of current year until                Wages, commissions,                        $14, 000. 00     D Wages, commissions,
the date you filed for bankruptcy:                                                                             bonuses, tips
                                                 bonuses, tips

                                                 a Operatinga business                                          D Operating a business




Official Form 107                                   Statement of FinancialAffairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor1         Ma , LATasha N                                                                          Case numberfffdnown)



                                                  Debtor 1                                                      Debtor 2
                                                  Sources of income               Gross income                  Sources of income             Gross income
                                                  Checkall that apply.            (before deductions and        Check alt that apply.         (beforedeductions
                                                                                  exclusions)                                                 and exclusions)
 For the calendaryear before that:                   Wages, commissions,                      $45, 000. 00      D Wages, commissions,
 (January 1 to December 31, 2016)                 bonuses, tips                                                 bonuses, tips

                                                  D Operating a business                                        D Operatinga business


5.    Did you receive any other income during this year or the two previous calendar years?
      Includeincomeregardlessofwhetherthatincomeis taxable. Examplesof otherincomeare alimony; child support; SocialSecurity, unemployment, and
      otherpublicbenefitpayments; pensions;rental income; interest; dividends;moneycollectedfrom lawsuits;royalties;andgambling and lotterywinnings.If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      D No
            Yes. Fill in the details.

                                                  Debtor 1                                                      Debtor 2
                                                  Sources of income               Gross income from             Sources of income             Gross income
                                                  Describe below.                 each source                   Describe below.               (beforedeductions
                                                                                  (before deductions and                                      and exclusions)
                                                                                  exclusions)
 For last calendaryear:                           401k Withdraw                              $35,000.00
 (January 1 to December 31, 2017)


 Part 3:     List Certain Pa ments You Made Before You Filed for Bankru t

6.    Are either Debtor 1 's or Debtor2's debts primarily consumer debts?
      D No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U. S. C. § 101(8) as "incurred by an
                 individual primarily for a personal, family, or household purpose."

                    Duringthe90 daysbeforeyoufiledfor bankruptcy, did you payanycreditora total of$6,425* or more?
                    D No.         Go to line 7.
                    D Yes         Listbeloweachcreditortowhomyoupaida totalof$6,425*ormoreinoneormorepaymentsandthetotalamountyoupaidthat
                                  creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                  payments to an attorneyfor this bankruptcy case.
                    * Subjectto adjustmenton4/01/19andevery3 years afterthatfor casesfiled on orafterthedateofadjustment.
            Yes. Debtor 1 or Debtor2 or both have primarily consumer debts.
                    Duringthe90 days beforeyoufiledfor bankruptcy, did you payanycreditora total of $600or more?

                         No.      Go to line 7.
                    D Yes         Listbeloweachcreditortowhomyoupaida totalof$600ormoreandthetotalamountyoupaidthatcreditor.Donotinclude
                                 payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                 this bankmptcycase.


       Creditor's Name and Address                           Dates of payment             Total amount          Amount you        Was this payment for.
                                                                                                    paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insklers include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
     which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
     business you operate as a sole proprietor. 11 U. S. C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
      D Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment             Total amount          Amount you        Reasonfor this payment
                                                                                                  paid              stilt owe

8.   Within 1 yearbeforeyou filed for bankruptcy,did you make any paymentsor transferany property on accountof a debtthat benefitedan

Official Form 107                                    Statement of FinancialAffairs for IndividualsFiling for Bankruptcy                                      page 2
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  Debtor 1        Ma , LATasha N                                                                          Case number (ifknown)



       insider?
       Includepayments on debts guaranteedor cosigned by an insider.

             No
       D     Yes. List all payments to an insider
        Insider's Name and Address                             Datesof payment             Total amount         Amount you        Reason for this payment
                                                                                                     paid            still owe    Include creditor's name

  Part 4:      Identi    Le al Actions Re ossessions, and Foreclosures

9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternityactions, support or custodymodifications,
       and contract disputes.

             No
       D     Yes. Fill in the details.
        Case title                                             Nature of the case          Court or agency                        Status of the case
        Case number


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

       D     No. Go to line 11.
             Yes. Fill in the information below.
        Creditor Name and Address                              Describethe Property                                       Date                         Value of the
                                                                                                                                                            property
                                                               Explain what happened
       Gurstel Law Firm                                        Wages                                                                                        $300. 00
       9320 E Raintree Dr
        Scottsdale, AZ 85260-2016                              D Property was repossessed.
                                                               D Property was foreclosed.
                                                                  Propertywas garnished.
                                                               D Propertywasattached, seizedor levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment becauseyou owed a debt?
        No
    D Yes. Fill in the details.
       Creditor Name and Address                               Describe the action the creditor took                      Date action was                   Amount
                                                                                                                         taken


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?

             No
      D Yes

 Part 5:      List Certain Gifts and Contributions

13. W thin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
      D     Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per               Describe the gifts                                   Dates you gave                       Value
       person                                                                                                            the gifts

       Person to Whom You Gave the Gift and
       Address:




Official Form 107                                      Statementof FinancialAffairsfor IndividualsFilingfor Bankruptcy                                         page3
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 Debtor 1      Ma LATasha N                                                                              Case number {ifknown)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600to any charity?
        No
      D Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total              Describewhatyou contributed                            Dates you
                                                                                                                                you                      Value
       more than $600                                                                                                     contributed
       Charity's Name
       Address (Number, Street, City, StateandZIPCode)

 Part 6:      List Certain Losses


15. Within I year before you filed for bankruptcy or since you filedfor bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
      D     Yes. Fill in the details.
       Describethe property you lost and                  Describe any insurance coverage for the loss                    Date of your       Valueof property
       how the loss occurred                                                                                              loss                           lost
                                                          Include the amountthat insurance has paid. List pending
                                                          insurance claims on line 33 oiSchedule A/B: Property.

 Part 7:     List Certain Pa ments or Transfers

16. Within I year beforeyou filed for bankruptcy, did you or anyone else acting on your behalfpay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                        Description and value of any property                   Date payment or           Amount of
       Address                                                    transferred                                             transfer was               payment
       Email or website address                                                                                           made
       Person Who Made the Payment, if Not You




17. Within I year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not includeanypayment or transferthat you listed on tine 16.

            No
      a     Yes. Fill in the details.
       Person Who Was Paid                                        Description and value of any property                   Date payment or           Amount of
       Address                                                    transferred                                             transfer was               payment
                                                                                                                          made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you havealreadylisted on this statement.
          No
    a Yes. Fill in the details.
       Person Who Received Transfer                               Description and value of                   Describeany property or        Date transfer was
      Address                                                     property transferred                       payments received or debts     made
                                                                                                             paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a




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       beneficiary? (These are often catted asset-protectkin devices.)
           No
       D Yes. Fill inthedetails.
        Nameof trust                                                   Description andvalue of the property transferred                       Date Transfer was
                                                                                                                                              made

  PartS:        List of Certain Financial Accounts, Instruments, Safe De osit Boxes, and Stora e Units


 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
       sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.
             No
       D     Yes. Fill in the details.
        Name of Financial Institution and                        Last4 digits of                Type of account or        Date account was   Last balance before
        Address (Number,Street,City, StateandZIP                 account number                 instrument                closed, sold,       closing or transfer
        Code)                                                                                                             moved, or
                                                                                                                          transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
       cash, or other valuables?

             No
       D Yes. Fill in the details.
        Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you stilt
        Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State                                      have it?
                                                                      andZIPCode)

22. Have you stored property in a storage unit or place otherthan your home within 1 year before you filed for bankruptcy?

             No
       D Yes. Fill in the details.
        Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                    have it?
                                                                      Address (Number, Street, City, State
                                                                      andZIPCode)

 Part 9:        Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
      someone.



             No
      D Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describethe property                          Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:       Give Details About Environmental Information


For the purpose of Part 10, the following definitionsapply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
      Sitemeans any location, facility, or property as defined under any environmental law, whetheryou now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedingsthat you know about, regardless of when they occurred.




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 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

              No
       D Yes. Fill in the details.
        Name of site                                                  Governmental unit                            Environmental law, if you          Date of notice
        Address (Number,Sbwt, City, StateandZIPCoda)                 Address (Number, Street, City, Stateand       know it
                                                                     ZIPCode)

 25. Have you notified any governmental unit of any release of hazardousmaterial?

             No
       D     Yes. Fill in the details.
        Name of site                                                 Governmental unit                             Environmental law, if you          Dateof notice
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                     ZIPCode)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
       D     Yes. Fill in the details.
        Case Title                                                   Court or agency                            Nature of the case                   Status of the
        Case Number                                                  Name                                                                            case
                                                                     Address (Number, Street, City, State
                                                                     and ZIP Code)

 Part 11:      Give Details About Your Business or Connections to An Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             D A soleproprietororself-employed ina trade, profession,orotheractivity, eitherfull-time or part-time
             D A memberofa limited liabilitycompany(LLC)orlimitedliabilitypartnership(LLP)
             D A partner in a partnership
             D An officer, director, or managing executive of a corporation
             D An owner of at least 5%of the voting or equity securities of a corporation
             No. None of the above applies. Go to Part 12.
      D Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                          Describe the nature of the business                  Employer Identification number
        Address                                                                                                     Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                    Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

             No
      D Yes. Fill in the details below.
       Name                                                    Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

 Part 12:     St n Below

I have read the answers on this Statement of FinancialAffairsand any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 15^1341, 1519,and 3571,


 LATashaTI May"
                                ^^c~jiif-Y>                              Signature of Debtor 2
 Signature of Debtor 1

 Date      December 3 2018                                               Date

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 Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)7
   No
 D Yes

 Did you pay or agreeto pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
 D Yes. Nameof Person_. Attachthe Bankruptcy Petition Preparer's Notice, Declaration, andSignature(OfficialForm 119).




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               Fill in this information to identify your case:

  Debtor 1                 LATasha N Ma
                           First Name                         Middle Name                 Last Name

  Debtor 2
  (Spouse if, filing)      First Name                         Middle Name                 Last Name


  United States Bankruptcy Courtforthe:                DISTRICTOFARIZONA,PHOENIXDIVISION

  Case number
  (if known)                                                                                                                        D Check if this is an
                                                                                                                                      amended filing



 Official Form 108
 Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

 If you are an individualfiling under chapter 7, you must fill out this form if:
     creditors have claims secured by your property, or
    you have teased personal property and the lease has not expired.
You mustfilethis form withthe court within30 daysafteryou file your bankruptcy petition or by the dateset for the meeting of creditors,
               whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
               the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
               and date the form.

Be as complete and accurate as possible. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that        Didyou claim the property
                                                                            securesa debt?                                         as exempt on Schedule C?

    Creditor's ^ ,.                                                         D Surrender the property.                              a No
    name7 ' NationStarMortgage                                              D Retain the property and redeem it.
                                                                               Retain the property and enter into a ReafKrmation   B Yes

    ^"oh044WL>n. Ave                                                            Agreement.
                                                                            D Retain the property and [explain]:
    securingdeb^lendale AZ 85307
    Creditor's                                                              D Surrender the property.                              D No
    name:                                                                   D Retainthe propertyandredeemit.
                                                                            D Retain the property and enter into a ReafRrmation    D Yes
    Description of                                                             Agreement.
    property                                                                D Retainthepropertyand[explain]:
    securing debt:

    Creditor's                                                              a Surrendertheproperty.                                D No
    name:                                                                   D Retain the property and redeem it.
                                                                            D Retainthepropertyandenterintoa ReafRrmation          D Yes
    Description of                                                             Agreement.
    property                                                                D Retainthepropertyand[explain]:
    secunng debt:

    Creditor's                                                              D Surrender the property.                              D No



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    name:                                                              D Retain the property and redeem it.                      D Yes
                                                                       D Retain the property and enter into a ReafRrmatton
    Description of                                                         Agreement.
    property                                                           D Retain the property and [explain]:
    securing debt:


               List Your Unex ired Personal Pro e          Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describeyour unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                              D No
 Description of leased
 Property:                                                                                                                   D Yes

 Lessor's name:                                                                                                              D No
 Description of leased
 Property:                                                                                                                   a Yes

 Lessor's name:                                                                                                              D No
 Description of leased
 Property:                                                                                                                   D Yes

 Lessor's name:                                                                                                              D No
 Description of leased
 Property:                                                                                                                   D Yes

 Lessor's name:                                                                                                              D No
 Descriptionof teased
 Property:                                                                                                                   D Yes

 Lessor's name:                                                                                                              D No
 Description of leased
 Property:                                                                                                                   D Yes

 Lessor's name:                                                                                                              D No
 Description of leased
 Property:                                                                                                                   D Yes

 Part 3:      Si n Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that' subject to an unex . ired lease.


                                                                                        Signatureof Debtor 2
       Signatureof Debtor 1

       Date        December 3, 2018                                               Date




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